

People v Hanford (2023 NY Slip Op 01364)





People v Hanford


2023 NY Slip Op 01364


Decided on March 16, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 16, 2023

Before: Friedman, J.P., González, Kennedy, Shulman, Pitt-Burke, JJ. 


Ind No. 3759/14 Appeal No. 17524 Case No. 2019-1497 

[*1]The People of the State of New York, Respondent,
vWillie Hanford, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Katheryne M. Martone of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Anna Notchick of counsel), for respondent.



Order, Supreme Court, New York County (Michele S. Rodney, J.), entered on or about November 1, 2018, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-c), unanimously affirmed, without costs.
The court providently exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). Defendant's good prison disciplinary record was sufficiently taken into account by the risk assessment instrument (see People v Watson, 112 AD3d 501, 503 [1st Dept 2013], lv denied 22 NY3d 863 [2014]), and his rehabilitation was not exceptional (see People v Bonnemere, 201 AD3d 475 [1st Dept 2022]). Defendant has not shown that his age minimized his individual risk of reoffense to such an extent that a downward departure is warranted (see e.g. People v Lalji, 133 AD3d 427, 428 [1st Dept 2015], lv denied 26 NY3d 917 [2016]). In any event, the mitigating factors cited by defendant were outweighed by the seriousness of the underlying crime, in which defendant blatantly approached and sexually abused a 10-year-old stranger who was accompanied by her mother in a public place. These circumstances suggest a lack of control and a serious risk of sexual reoffense (see People v Gillette, 189 AD3d 512 [1st Dept 2020]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 16, 2023








